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 5                         IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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     CALIFORNIA COALITION FOR WOMEN
 7   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;        CASE NO. 4:23-CV-04155-YGR
     G.M.; A.S.; and L.T., individuals on behalf of
 8   themselves and all others similarly situated,
 9                        Plaintiffs                   [PROPOSED] ORDER GRANTING
                    v.                                 ADMINISTRATIVE MOTION TO FILE
10                                                     DOCUMENT UNDER SEAL
     UNITED STATES OF AMERICA FEDERAL
11   BUREAU OF PRISONS, a governmental entity;
     BUREAU OF PRISONS DIRECTOR
12   COLETTE PETERS, in her official capacity;
     FCI DUBLIN WARDEN THAHESHA JUSINO,
13   in her official capacity; OFFICER
     BELLHOUSE, in his individual capacity;
14   OFFICER GACAD, in his individual capacity;
     OFFICER JONES, in his individual capacity;
15   LIEUTENANT JONES, in her individual
     capacity; OFFICER LEWIS, in his individual
16   capacity; OFFICER NUNLEY, in his individual
     capacity, OFFICER POOL, in his individual
17   capacity, LIEUTENANT PUTNAM, in his
     individual capacity; OFFICER SERRANO, in
18   his individual capacity; OFFICER SHIRLEY, in
     his individual capacity; OFFICER SMITH, in his
19   individual capacity; and OFFICER VASQUEZ,
     in her individual capacity,
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                         Defendants.
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22          Upon consideration of the Administrative Motion to File Documents Under Seal filed by the
23 United States of America, and for good cause shown, IT IS HEREBY ORDERED that the

24 Administrative Motion is GRANTED. The following shall be filed under seal in accordance with Civil

25 Local Rule 79-5:

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     [PROPOSED] ORDER RE: MOTION TO FILE UNDER SEAL

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 1    Document and Portion of Document to              Evidence Offered in Support of      Ruling
                        be Sealed                                  Sealing
 2    Brief ISO Rule 60 Motion for Relief             Lothrop Decl., Doc. 236-2.
 3    Pg. 2, lns. 12-13
      Brief ISO Rule 60 Motion for Relief             Lothrop Decl., Doc. 236-2.
 4    Pg. 3, lns. 14-28
      Brief ISO Rule 60 Motion for Relief             Lothrop Decl., Doc. 236-2.
 5    Pg. 4, lns. 1-6, 9, 10-11, 16-17, 27-28
 6    Brief ISO Rule 60 Motion for Relief             Lothrop Decl., Doc. 236-2.
      Pg.5, lns. 1-14
 7    Brief ISO Rule 60 Motion for Relief             Lothrop Decl., Doc. 236-2.
      Pg. 6, lns. 4, 5, 6-7, 8, 21, 22
 8    Brief ISO Rule 60 Motion for Relief             Lothrop Decl., Doc. 236-2.
      Pg. 9, lns. 12-15, 17, 18
 9
      Brief ISO Rule 60 Motion for Relief             Lothrop Decl., Doc. 236-2.
10    Pg. 12, lns. 12, 14-15, 25-26
      Brief ISO Rule 60 Motion for Relief             Lothrop Decl., Doc. 236-2.
11    Pg. 14, lns. 16, 17, 18, 20
      McKinney Declaration                            Lothrop Decl., Doc. 236-2.
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     DATED: _________________
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                                                                    HON. YVONNE GONZALEZ ROGERS
19                                                                  United States District Judge
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     [PROPOSED] ORDER RE: MOTION TO FILE UNDER SEAL

30   4:23-cv-04155-YGR                                       2
